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                    19-cv-1856 (DSD/HB)


            Tim Walsh, et al. v. Clifford M. Buchholz, et al.




 Suzanne L. Jones


Todd M. Murphy


                         Northern District of Illinois
                                                         X      s St. Renatus, LLC; Frank R. Ramirez; Brent M.T. Keele;
                                                                  Stephen D. Tebo; Jerry Morgensen; James L. Parke;
                                                                  Joseph D. Schofield, III and SR Merger Sub, LLC




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  Todd M. Murphy


Northern District of Illinois




                                                       May 25, 2021

                   Todd M. Murphy


                                  6280687                                  Illinois




                       Gordon Rees Scully Mansukhani

                          One North Franklin


                          Suite 800

                          Chicago, IL 60606


                  312 565-1400                              312 619-4902

                     tmurphy@grsm.com
